        Case 17-07338-CL13                      Filed 08/23/19         Entered 08/23/19 10:50:34              Doc      Pg. 1 of 4
 Fill in this information to identify the case:
B 10 (Supplement 2) (12/11)          (post publication draft)
 Debtor 1          Ronald   Dean Chandler, Jr.
                   __________________________________________________________________

 Debtor 2              Deborah   Ann Chandler
                       ________________________________________________________________
 (Spouse, if filing)

 United States Bankruptcy Court for the: Southern District
                                         __________        of of
                                                     District California
                                                                 __________

 Case number           17-07338-CL13
                       ___________________________________________




Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                          12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against the debtor's principal residence.

File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.



 Name of creditor: Chalet  Properties III, LLC
                   _______________________________________                                Court claim no. (if known): 2-1
                                                                                                                      __________________

 Last 4 digits of any number you use to
 identify the debtor’s account:                           8 ____
                                                         ____ 8 ____
                                                                  7 ____
                                                                      5

 Does this notice supplement a prior notice of postpetition fees,
 expenses, and charges?
       No
       Yes. Date of the last notice: _____________


 Part 1:         Itemize Postpetition Fees, Expenses, and Charges

 Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include any
 escrow account disbursements or any amounts previously itemized in a notice filed in this case or ruled on by the bankruptcy court.

      Description                                                        Dates incurred                                    Amount

  1. Late charges                                                        _________________________________           (1)   $ __________
  2. Non-sufficient funds (NSF) fees                                     _________________________________           (2)   $ __________
  3. Attorney fees                                                       _________________________________           (3)   $ __________
  4. Filing fees and court costs                                         _________________________________           (4)   $ __________
  5. Bankruptcy/Proof of claim fees                                      _________________________________           (5)   $ __________
  6. Appraisal/Broker’s price opinion fees                               _________________________________           (6)   $ __________
  7. Property inspection fees                                            _________________________________           (7)   $ __________
  8. Tax advances (non-escrow)                                           _________________________________           (8)   $ __________
  9. Insurance advances (non-escrow)                                     _________________________________           (9)   $ __________
 10. Property preservation expenses. Specify:_______________             _________________________________          (10)   $ __________
 11. Other.             Escrow Advances
                 Specify:____________________________________            3/18/2019
                                                                         _________________________________          (11)         763.03
                                                                                                                           $ __________
 12. Other. Specify:____________________________________                 _________________________________          (12)   $ __________
 13. Other. Specify:____________________________________                 _________________________________          (13)   $ __________
 14. Other. Specify:____________________________________                 _________________________________          (14)   $ __________


 The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
 See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.


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Debtor 1     Ronald     Dean       Chandler,   Jr.
             _______________________________________________________                                       17-07338-CL13
                                                                                    Case number (if known) _____________________________________
             First Name   Middle Name      Last Name




 Part 2:     Sign Here


  The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
  telephone number.
  Check the appropriate box.

   I am the creditor.
  ✔ I am the creditor’s authorized agent.
  

  I declare under penalty of perjury that the information provided in this claim is true and correct to the best
  of my knowledge, information, and reasonable belief.



              /s/ Kristin Zilberstein
                 __________________________________________________
                 Signature
                                                                                    Date    08/23/2019
                                                                                            08/22/2019
                                                                                            ___________________




 Print:          Kristin Zilberstein
                 _________________________________________________________          Title   Authorized Agent for Secured Creditor
                                                                                            ___________________________
                 First Name                Middle Name     Last Name



 Company         Ghidotti Berger LLP
                 _________________________________________________________



 Address         1920 Old Tustin Ave.
                 _________________________________________________________
                 Number           Street
                 Santa Ana                        CA      92705
                 ___________________________________________________
                 City                                      State         ZIP Code




 Contact phone   (949) 427-2010
                 _______________________                                                     bknotifications@ghidottiberger.com
                                                                                    Email ________________________




Official Form 410S2                          Notice of Postpetition Mortgage Fees, Expenses, and Charges                                   page 2

     Print                      Save As...                  Add Attachment                                                             Reset
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1     Michelle R. Ghidotti-Gonsalves, Esq. (SBN 232837)
      Kristin A. Zilberstein (SBN 200041)
2     GHIDOTTI | BERGER LLP
3     1920 Old Tustin Ave.
      Santa Ana, CA 92705
4     Ph: (949) 427-2010
      Fax: (949) 427-2732
5     kzilberstein@ghidottiberger.com
6
      Authorized Agent for Creditor
7     Chalet Properties III, LLC
8                               UNITED STATES BANKRUPTCY COURT
9                  SOUTHERN DISTRICT OF CALIFORNIA – SAN DIEGO DIVISION
10
      In Re:                                               )   CASE NO.: 17-07338-CL13
11                                                         )
12    RONALD DEAN CHANDLER, JR.                            )   CHAPTER 13
      DEBORAH ANN CHANDLER                                 )
13        Debtors.                                         )   CERTIFICATE OF SERVICE
                                                           )
14
                                                           )
15                                                         )
                                                           )
16                                                         )
                                                           )
17
                                                           )
18                                                         )

19
20                                     CERTIFICATE OF SERVICE

21
               I am employed in the County of Orange, State of California. I am over the age of
22
      eighteen and not a party to the within action. My business address is: 1920 Old Tustin Ave.,
23
24    Santa Ana, CA 92705.

25             I am readily familiar with the business’s practice for collection and processing of
26    correspondence for mailing with the United States Postal Service; such correspondence would
27
      be deposited with the United States Postal Service the same day of deposit in the ordinary
28
      course of business.

      On August 23, 2019 I served the following documents described as:
                                                       1
                                        CERTIFICATE OF SERVICE
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1
                    NOTICE OF MORTGAGE PAYMENT CHANGE
2
3     on the interested parties in this action by placing a true and correct copy thereof in a sealed

4     envelope addressed as follows:
5
      (Via United States Mail)
6     Debtor                                              Trustee
      Ronald Dean Chandler, Jr.                           David L. Skelton
7     1530 Clarke Dr                                      525 B St., Suite 1430
      El Cajon, CA 92021-3509                             San Diego, CA 92101-4507
8
9     Joint Debtor                                        US Trustee
      Deborah Ann Chandler                                United States Trustee
10    1530 Clark Drive                                    Office of the U.S. Trustee
11    El Cajon, CA 92021                                  880 Front Street
                                                          Suite 3230
12    Debtor’s Counsel                                    San Diego, CA 92101
      Cheryl L. Stengel
13    Law Office of Cheryl L. Stengel
14    110 West A Street
      Suite 750
15    San Diego, CA 92101
16    _xx___(By First Class Mail) At my business address, I placed such envelope for deposit with
17    the United States Postal Service by placing them for collection and mailing on that date
      following ordinary business practices.
18
      ______Via Electronic Mail pursuant to the requirements of the Local Bankruptcy Rules of the
19    Eastern District of California
20
      __xx_(Federal) I declare under penalty of perjury under the laws of the United States of
21    America that the foregoing is true and correct.
22
             Executed on August 23, 2019 at Santa Ana, California
23
      /s / Evan W. Tragarz
24    Evan W. Tragarz
25
26
27
28




                                                      2
                                       CERTIFICATE OF SERVICE
